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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF: CASE NO. 16-12658
Section "B"
DANIEL FREEMAN
CHAPTER 7
DEBTOR
APPLICATION FOR

APPROVAL OF EMPLOYMENT
OF AUCTIONEER AND FOR APPROVAL OF
SALE BY PUBLIC AUCTION

NOW INTO COURT comes David V. Adler, trustee of the captioned estate (“Trustee”),
who respectfully represents:

1, The Debtor filed a voluntary petition for relief under Chapter 7 of the Bankruptcy
Code on October 27, 2016.

2. Applicant is the duly appointed trustee of the bankruptcy estate of the above named
Debtor and is now acting as such trustee.

3. This Court has jurisdiction over this case under 28 U.S.C. § 1334 and this matter
is a core proceeding under, without limitation, 28 U.S.C. §§ 157(b)(2)(A) and (N). Venue of this
case and this motion is proper in this district under 28 U.S.C. §§ 1408 and 1409. The statutory
predicate for the relief sought herein is §§ 105 and 363 of the Bankruptcy Code, as
complimented by Rules 2002 and 6004 of the Federal Rules of Bankruptcy Procedure.

Auction Sale of Property
4. Debtor is the owner of certain assets more fully described as follows:
a. 2011 TRTN utility trailer, V.ILN.: 4TCSM1110BHL37026; and

b. 2012 Kawasaki Jet Ski, H.I.N: KAW40882B212

(Collectively, the “Property”)
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The property is currently being stored at ServCorp International, Inc., 101 Magnolia Street,
Slidell, LA 70460.

5. From his past experience in acting as a trustee in bankruptcy cases, the Trustee is
satisfied that he can achieve the best and highest net recovery to this estate by employing a
qualified auctioneer to conduct a public auction of the Property.

Employment of Auctioneer

6. The Trustee has received from ServCorp International, Inc. (“Auctioneer”), a
licensed and bonded auctioneer, an offer to liquidate the Property at an absolute auction sale
upon the following terms and conditions:

a. The Property will be sold “AS IS,” “WHERE IS” without any warranty
whatsoever, even for the return of the purchase price, by auction free and clear of
all Interests;

b. Auctioneer’s Commission for the movable property shall be 10% of the gross
proceeds; and

c. Marketing for the Property shall not exceed $300.00, with an initial pickup
fee of $100.00, and storage of $2.00 per day will be charged if order is not signed before
scheduled auction date.

7. Attached hereto as Exhibit “A” is the Declaration of Bradley Mutz, CAI, setting
forth that the Auctioneer is a disinterested person within the meaning of 11 U.S.C. § 101(14).

8. The Auctioneer will schedule and advertise the proposed auction pending this
Court’s approval of the Motion. According to the Auctioneer, the best possible date to schedule
the auction of the Property is April 20, 2017 at 10:00 am., at the ServCorp offices located at 101

Magnolia Street Slidell, LA 70460. The Auctioneer has a scheduled auction for several other
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participants on that date with other equipment and vehicles, and the Auctioneer advises that the
turnout should assist the estate in achieving the best possible price.

9. The Trustee also seeks authority, without further order of this Court, to sell any of
the Property herein at a separate auction if any of the Property does not sell at the April 20, 2017
auction.

Successful Bidders Are Good Faith Purchasers Under § 363(m) of the Bankruptcy Code

10. Section 363(m) of the Bankruptcy Code provides that the reversal or modification
on appeal of a transaction authorized under §363(b) of the Bankruptcy Code does not affect the
validity of the sale to an entity that acquired the property in good faith. Because the Auctioneer
has advertised the Property for sale through an intensive advertising and marketing program and
the auction is open to the public, it is beyond question that (i) the successful bidders shall be
good faith purchasers, (ii) the sale of the Property at the auction shall be at arm’s length, and (iii)
the successful bidders are entitled to the protections under §363(m) of the Bankruptcy Code.

WHEREFORE, the Trustee prays as follows:

a. That the Court authorize the auction of the Property on the terms and conditions
set forth herein;

b. That the Order authorizing the auction provide that the purchaser(s) of the
Property at the auction shall be in “good faith” and entitled to all of the protections afforded by
§363(m) of the Bankruptcy Code;

c. That the Trustee be authorized to employ ServCorp International, Inc. as
auctioneer to conduct a public auction of the Property with compensation and reimbursement of
expenses to be allowed and paid out of the gross proceeds of the sale as set forth herein; and

d. For such other and further relief as is just.
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Respectfully submitted,

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David V. Adler, Trustee
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504-834-5465
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DANIEL FREEMAN
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DEBTOR

DECLARATION OF PROPOSED AUCTIONEER

I, Bradley Mutz, declare that the following is true and correct to the best of my
knowledge, information, and belief:

1. That I am an auctioneer duly licensed in the State of Louisiana and I maintain a bond in
accordance with the requirements of the United States Trustee for this district.

2. That neither I, nor any of my associates or employees of my firm, ServCorp International,
Inc., insofar as I have been able to ascertain, represents any interest adverse to the estate, the
trustee, the Office of U.S. Trustee, or Debtor(s) herein with respect to the purposes of my
employment.

3. Based upon the foregoing, I believe that I am a disinterested person within the meaning of
§101 and §327 of the United States Bankruptcy Code.

4, That I and members of my firm are not related to the trustee by affinity or consanguinity
within the third degree as determined by common law, or in a step or adoptive relationship

within such degree.

  

Bradley Mutz

ServCorp International, Inc.
101 Magnolia St.

Slidell, LA 70460
985-847-1242

License #1467
